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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


PENNSYLVANIA NATIONAL           )
MUTUAL INSURANCE COMPANY        )
                                ) JURY TRIAL DEMANDED
        Plaintiff,              )
                                )
vs.                             ) CV-08-J-0635-S
                                )
HANNA STEEL CORPORATION, et al. )
                                )
        Defendants.             )

      RESPONSE TO FIREMAN’S FUND INSURANCE COMPANY’S
              MOTION FOR SUMMARY JUDGMENT

      Defendant Hanna Steel Corporation (“Hanna Steel”) respectfully submits

this Response in opposition to the Motion for Summary Judgment filed by

Fireman’s Fund Insurance Company (“FFIC”).

I.    Response to Initial Statement of Undisputed Facts

      1.       Hanna Steel admits that FFIC issued a Commercial General Liability

insurance policy to Hanna Steel, number KXC80371919, for the period December

1, 1998 to December 1, 1999 with limits of $1,000,000 each occurrence and

$2,000,000 general aggregate (the “Policy”), but Hanna Steel denies that the policy

forms attached to the Affidavit of Daniel J. Kane correctly reflect the Policy that

was issued to Hanna Steel. Hanna Steel Evidentiary Submission, Exh. A.
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       2.       Denied. The Total Pollution Exclusion was deleted from the Policy.

Hanna Steel Evidentiary Submission, Exh. A (See page 8 of Exh. 1 to Affidavit of

Randall S. Raiford).

       3.       Hanna Steel admits that Penn National initiated this declaratory

judgment action and included other insurers along with Hanna Steel as nominal

defendants.

       4.       Hanna Steel admits that the declaratory judgment action seeks to

avoid coverage for the Lowery, Allen, and Aaron cases.                  (the “Underlying

Lawsuits”). The Allen Complaint attached to FFIC’s Motion is incomplete. Hanna

Steel Evidentiary Submission, Exh. C.1

       5.       Admitted.

       6.       Admitted.

       7.       Denied. Hanna Steel Evidentiary Submission, Exhs. A, B.

II.    Summary of Argument

       FFIC’s sole argument is that the Underlying Claims are excluded from

coverage by the Total Pollution Exclusion.            However, pursuant to a Change

Endorsement, which was part of the Policy, the Total Pollution Exclusion was

deleted from the Policy. Hanna Steel Evidentiary Submission (See Exh. 1 to


1
  Exhbits F, G, and H to FFIC’s Evidentiary Submission are not properly authenticated and
should not factor into the Court’s consideration of the Motion for Summary Judgment pursuant
to Fed. R. Civ. P. 56(e)(1).


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Affidavit of Randall S. Raiford, p. 8). Because FFIC’s Motion for Summary

Judgment is based solely upon the Total Pollution Exclusion, the Motion is due to

be denied.

      Alternatively, two inconsistent pollution exclusions were incorporated into

the Policy. Along with the purported Total Pollution Exclusion asserted in FFIC’s

Motion the Policy also lists the “Amendment of Pollution Exclusion – Exception

for Building Heating Equipment (CG 00 54 03 97).” These two endorsements

cannot be reconciled in any meaningful way, except by acknowledging that the

Total Pollution Exclusion was deleted.       If both of the referenced pollution

exclusions became part of the policy, the policy contains an ambiguity that must be

construed in favor of Hanna Steel. Miles v. St. Paul Fire & Marine Ins. Co., 381

So. 2d 13 (Ala. 1980) (where two provisions said opposite things, policy was

construed in favor of insured).



                                  ARGUMENT

A.    Summary Judgment Standard

      Under Federal Rule of Civil Procedure 56, a party is entitled to summary

judgment only if “the pleadings, the discovery and disclosure materials on file,

and any affidavits show that there is no genuine issue as to any material fact and

that the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56.


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Moreover, “If the record presents factual issues, the court must not decide them; it

must deny the motion and proceed to trial.” Clemons v. Dougherty County, Ga.,

684 F.2d 1365, 1369 (11th Cir.1982).


B.    The Total Pollution Exclusion Was Deleted From the Policy By
      Endorsement


      Hanna Steel contracted with FFIC to provide it with insurance coverage for

the year December 1, 1998 through December 1, 1999. Hanna Steel’s Evidentiary

Submission, Exh. A. The insurance policy included a Change Endorsement with

the following language:

             The following other General Liability endorsement(s) are
             deleted from the policy:

             TOTAL POLLUTION EXCLUSION ENDORSEMENT
             C02149   0196

Hanna Steel’s Evidentiary Submission, Exh. A (Page 8 of Exhibit 1 to Affidavit of
Randall R. Raiford).

      In light of this clear language in the Change Endorsement, FFIC’s Motion

based solely on the Total Pollution Exclusion must fail.2 Hanna Steel was entitled

to rely on the plain language of the policy it received from FFIC. Commercial

Standard Insurance Co. v. General Trucking Co., 423 So. 2d 168, 170 (Ala. 1982).


2
 Hanna Steel does not concede that the Total Pollution Exclusion quoted in FFIC’s motion
would relieve FFIC of its duty to defend the Underlying Lawsuits.



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The documents clearly state that the Total Pollution Exclusion Endorsement was

deleted from the policy. Hanna Steel believed that it would have coverage for the

claims in the Underlying Lawsuits.3



C.     Alternatively, the Presence of Two Inconsistent Pollution Exclusions
       Creates an Ambiguity That Must Be Resolved in Favor of Hanna Steel

       According to documents produced by FFIC and its Evidentiary Submission

in support of its Motion for Summary Judgment, the Policy included an

Endorsement entitled “Amendment of Pollution Exclusion – Exception for

Building Heating Equipment (CG 00 54 03 97)”                       (“Alternative Pollution

Exclusion”). Hanna Steel’s Evidentiary Submission, Exh. B. The Alternative

Pollution Exclusion modifies the same language purportedly modified by the Total

Pollution Exclusion discussed in FFIC’s Motion, by preserving some of the

language in the primary coverage form. The Commercial General Liability Part

contains an exclusion that begins as follows:

              Exclusions

              This insurance does not apply to:

                                                ***
              f. Pollution

3
  The actual facts behind the claims in the Underlying Lawsuits are unknown and have not been
discovered. Those matters are at early stages of discovery and any determination of FFIC’s
indemnity obligations based on the actual nature of the allegations contained in the Underlying
Lawsuits would be premature without discovery.


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            (1) Bodily injury or property damage arising out of the
               actual, alleged or threatened discharge, dispersal,
               seepage, migration, release or escape of pollutants:

                 (a) At or from any premises, site or location which is
                     or was at any time owned or occupied by, or rented
                     or loaned to, any insured,

                              ***
Hanna Steel Evidentiary Submission, Exh. D.

      The Total Pollution Exclusion upon which FFIC based its Motion for

Summary Judgment is in the form of an endorsement, and includes the following

language:

            This endorsement modifies insurance provided under
            the following:

            Commercial General Liability Coverage Part

            Exclusion f. under paragraph 2., Exclusion of
            COVERAGE A – BODILY INJURY AND PROPERTY
            DAMAGE LIABILITY (Section I – Coverages) is
            replaced by the following:

            This insurance does not apply to:

            f.      (1) Bodily injury or property damage which would
                        not have occurred in whole or part but for the
                        actual, alleged or threatened discharge,
                        dispersal, seepage, migration, release or escape
                        of pollutants at any time.

                                       * * *




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FFIC Evidentiary Submission, Exh. A. This exclusion was deleted from the Policy

pursuant to the Change Endorsement. Hanna Steel Evidentiary Submission, Exh.

A.

       The Alternative Pollution Exclusion, also included in the form of an

endorsement, begins as follows:

              This endorsement modifies insurance provided under the
              following:

              Commercial General Liability Coverage Part

                                            ***

              Subparagraph (1)(a) of the Pollution exclusion under
              Paragraph 2., Exclusions of Bodily Injury and Property
              Damage Liability Coverage (Section I – Coverages) is
              replaced by the following:

              The insurance does not apply to:

              POLLUTION

              (1) Bodily injury or property damage arising out of the
                 actual, alleged or threatened discharge, dispersal,
                 seepage, migration, release or escape of pollutants:

                 (a) At or from any premises, site or location which is
                    or was at any time owned or occupied by, or rented
                    or loaned to, any insured.

                                    * * *
See Hanna Steel’s Evidentiary Submission, Exh. B.4

4
 The “Amendment of Pollution Exclusion – Exception for Building Heating Equipment – CG 00
54 03 97” attached to Hanna Steel’s Evidentiary Submission as Exh. B was produced by FFIC as
part of its Initial Disclosures.


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      The above-quoted language of the Alternative Pollution Exclusion restricts

the exclusion to pollution claims that allege certain pollution at or from premises

owned by the insured, effectively reinstating the form of the exclusion in the

Commercial General Liability form.        FFIC has admitted that the Underlying

Lawsuits contained allegations that did not fit into that category.     See FFIC

Evidentiary Submission, Exhs. C, D, E.

      The two pollution-related endorsements purport to modify the same

language in the Commercial General Liability Coverage Part, in fundamentally

different ways.   Hanna Steel Evidentiary Submission, Exh. D.         There is no

indication in the language of the endorsements themselves or in the Policy that

indicates which of these endorsements should prevail over the other. Unless the

Change Endorsement meant what it said – that the Total Pollution Exclusion was

deleted from the Policy -- there is no reasonable way to interpret the Policy. If

both endorsements became part of the policy, the policy is ambiguous.

Ambiguities must be resolved in Hanna Steel’s favor.        American Ins. Co. v.

Allstate Ins. Co., 582 So. 2d 1100 (Ala. 1991). The language of the Alternative

Pollution Exclusion gives rise to FFIC’s duty to defend the Underlying Lawsuits.

      WHEREFORE, Hanna Steel Corporation respectfully requests the Court

deny FFIC Insurance Company’s Motion for Summary Judgment.



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                                      Respectfully submitted,



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                         CERTIFICATE OF SERVICE
       I hereby certify that on this 2nd day of October, 2008, a copy of the
foregoing was served upon counsel of record for all parties to this proceeding by
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